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             EXHIBIT 32
                            Case 3:18-cv-00360-WHA Document 84-33 Filed 05/24/18 Page 2 of 2




From:                                           Jacobs, Aaron <ajacobs@princelobel.com>
Sent:                                           Thursday, May 10, 2018 8:54 AM
To:                                             Michael Pieja; James, Clay C. (clay.james@hoganlovells.com); Vidmar, Lucky
                                                (lucky.vidmar@hoganlovells.com); Doug Winnard; Andrew Rima; Alan Littmann;
                                                Dagogo-Jack, Alali; Rankin, Katy L.; Carter, Jane Zenzi Li; Apple-uniloc
Cc:                                             uniloc
Subject:                                        Uniloc v. Apple (HPE and FP): Source Code Inspection


Counsel,

Pursuant to Section 11 of the Protective Order, Chuck Easttom will perform an inspection of Apple’s source code at
Apple’s counsel’s Chicago office from May 24 to 25, 2018. Please confirm that the computer will be available during this
time and let me know how early Mr. Easttom may arrive.

Sincerely yours,
      Aaron

_______________________
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